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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                               TALLAHASSEE DIVISION


 DONALD FALLS, et al.,

                        Plaintiffs,                Case No. 4:22-cv-166-MW/MJF

                v.

 RON DESANTIS, in his official capacity as
 Governor of Florida, et al.,

                        Defendants.



               DEFENDANTS’ UNOPPOSED MOTION TO EXTEND THE
               DEADLINE TO RESPOND TO PLAINTIFFS’ COMPLAINT

       Pursuant to FED. R. CIV. P. 6(b)(1), Defendants respectfully request an Order setting the

deadline for them to respond to Plaintiffs’ Complaint in this matter under Rule 12 to June 1, 2022.

In support of this request, Defendants state as follows:

       1.      On April 22, 2022, Plaintiffs filed a complaint and a motion for a preliminary

injunction. Doc. 1 (Apr. 22, 2022); Doc. 4 (Apr. 22, 2022). On April 28, the executed summonses

for all defendants were returned. See, e.g., Doc. 15 (Apr. 28, 2022).

       2.      The following day, on April 29, the Court held a telephonic scheduling conference.

After the conference, the Court issued a scheduling order, Doc. 24 (Apr. 29, 2022), setting a June

1, 2022, deadline for Defendants’ response to Plaintiffs’ preliminary-injunction motion.

       3.      This morning, on May 20, the Court entered a docket entry indicating that

Defendants’ answer to Plaintiffs’ complaint was “not filed by defendants by 5/17/2022.”

Unnumbered Dkt. Entry (May 20, 2022).
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       4.      Defendants had interpreted the Court’s April 29 order as providing Defendants until

June 1 to respond to Plaintiffs’ complaint under Rule 12. Given that Plaintiffs have moved for

preliminary injunctive relief on all claims, Defendants’ June 1 response to that motion will

necessarily contain their substantive responses to all of the claims in Plaintiffs’ complaint. We

respectfully submit that the most sensible and efficient course of action is thus for Defendants to

respond to Plaintiffs’ complaint under Rule 12 simultaneously with their response to Plaintiffs’

preliminary injunction motion.

       5.      The docket entry from this morning indicates that Defendants’ interpretation of the

April 29 Order as extending the deadline under Rule 12 may have been incorrect, however.

Defendants regret any error and respectfully ask the Court to exercise its discretion under Rule

6(b)(1) to extend the time for Defendants to file their answer to Plaintiffs’ complaint to June 1.




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                           LOCAL RULE 7.1(B) CERTIFICATION

       1.      In accordance with Local Rule 7.1(B), Defendants have conferred with counsel for

Plaintiffs regarding this motion, and Plaintiffs do not oppose it.



Date: May 20, 2022                                    Respectfully submitted,

/s/ Timothy L. Newhall                                /s/ Charles J. Cooper
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